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                IN THE UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION


UNITED STATES OF AMERICA,                      *
                                               *
V.                                             *      CR io8-o6i
                                               *
CALVIN STEVENSON, JR.                          *


                                      ORDER

       Before the court, pursuant to 18 U.S.C.3145(b), is Defendant's Motion for
Reconsideration of Bond which the Court is treating as a Motion for Revocation and
Amendment of the United States Magistrate Judge's ruling which ordered Defendant's
pre-trial detention following his arrest on charges of conspiracy to commit armed
robbery, armed robbery, carrying and using firearms in the commission of a violent
offense and aiding and abetting the same, in violation of i8 U.S.C. § 371, 2113(a) and
(d), 924(c). ($ Order of April 2, 2008.) As noted by Magistrate Judge Barfield, a
rebuttable presumption exists that Defendant is a flight risk and is a danger to the
community. See i8 U.S.C.3142(e). Magistrate Judge Barfield found that Defendant
failed to rebut this presumption. Defendant does not present any new arguments or
evidence; thus, I find no reason to disturb the Magistrate Judge's ruling. Accordingly,
Defendant's Motion for Revocation and Amendment of the Detention Order (doc. #90)
is hereby DENIED, and the April 2, 2008 Order of the Honorable W. Leon Barfield,
United States Magistrate Judge, is hereby ADOPTED. /
      SO ORDERED at Augusta, Georgia, this              iy of August, 2008.



                                               DAL HALL #'
                                               D STATES DISTRICT JUDGE
                                               [ERN DISTRICT OF GEORGIA
